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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CARLTON HARRIS,

        Plaintiff,

 v.                                              Civil Action No. 1:18-cv-2390-ABJ

 DISTRICT OF COLUMBIA,

        Defendant.


      JOINT MOTION TO STAY REMAINING SCHEDULING ORDER DEADLINES
       Plaintiff Carlton Harris and Defendant the District of Columbia respectfully move the

Court under Fed. R. Civ. P. 16(b)(4) to stay the remaining scheduling order deadlines pending

mediation. A memorandum of points and authorities supporting this request accompanies this

motion. A proposed order is also attached.

 DATED: September 25, 2020                   Respectfully submitted

                                             /s/ William Claiborne
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                                             Counsel for Plaintiff

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                                             the District of Columbia

                                             CHAD COPELAND
                                             Deputy Attorney General
                                             Civil Litigation Division
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                            /s/ Michael K. Addo
                            MICHAEL K. ADDO [1008971]
                            Chief, Civil Litigation Division Section IV

                            /s/ Philip A. Medley
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    CARLTON HARRIS,

          Plaintiff,

    v.                                             Civil Action No. 1:18-cv-2390-ABJ

    DISTRICT OF COLUMBIA,

          Defendant.


MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF JOINT MOTION
       TO STAY REMAINING SCHEDULING ORDER DEADLINES
         Plaintiff Carlton Harris and Defendant the District of Columbia seek a stay of the

remaining scheduling order deadlines under Fed. R. Civ. P. 16(b)(4) pending mediation. On June

15, 2020, the Court issued a Minute Order granting Plaintiff’s Consent Motion to Modify

Scheduling Order and setting the following deadlines: September 25, 2020 for the completion of

Phase I fact discovery; and October 16, 2020 for the parties to submit a joint status report. On

August 13, 2020, the Court, at the parties’ request, issued an Order referring this case to

Magistrate Judge Robin M. Meriweather1 for mediation. The Court’s Order did not specifically

address the remaining scheduling order deadlines.

         The Court may stay or modify a scheduling order upon a showing of good cause. Fed. R.

Civ. P. 16(b)(4). Good cause supports this request because the parties are interested in

mediation, and if the parties can ultimately settle this matter, further discovery would be

unnecessary.



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       On September 16, 2020, Judge Meriweather’s law clerk informed the parties that Judge
Meriweather is no longer able to mediate this matter, and the matter will be referred to the District
Court Mediation Program.
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     For these reasons, the parties respectfully request that the Court grant this motion.


DATED: September 25, 2020                    Respectfully submitted

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                                             /s/ Michael K. Addo
                                             MICHAEL K. ADDO [1008971]
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CARLTON HARRIS,

          Plaintiff,

 v.                                              Civil Action No. 1:18-cv-2390-ABJ

 DISTRICT OF COLUMBIA,

          Defendant.


                                           ORDER

         Upon consideration of the Joint Motion to Stay Remaining Scheduling Order Deadlines,

the entire record herein, and for good cause shown, it is this ________ day of ______ 2020,

hereby

         ORDERED that the Joint Motion is GRANTED; and it is further

         ORDERED the remaining scheduling order deadlines shall be stayed nunc pro tunc to

August 13, 2020 pending further order of this Court.

         SO ORDERED.

                                                       _________________________________
                                                       AMY BERMAN JACKSON
                                                       United States District Judge
